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                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                           BROWNSVILLE DIVISION

UNITED STATES OF AMERICA
                                       Plaintiff

v.                                                  Case No.: 1:12−po−04038
                                                    Magistrate Judge Ronald G. Morgan

Alan Fabricio Fernandez−Padilla
                                       Defendant



                                       JUDGMENT


       On 11/19/12, the above named defendant appeared in person and with counsel.
      Whereupon the defendant entered a plea of guilty to the offense of entering the
United States illegally, in violation of 8 U.S.C. §1325(a)(1), as charged in the Complaint;
and the Court having asked the defendant whether he/she had anything to say why
judgment should not be pronounced, and no sufficient cause to the contrary being shown
or appearing to the Court;
IT IS ADJUDGED that the defendant is guilty as charged and convicted.
The defendant is hereby sentenced to time served.
A $10.00 special assessment is imposed.
DONE at Brownsville, Texas, on 11/19/12.
